               Case 8:25-cv-00951-PX                                Document 22               Filed 04/04/25                          Page 1 of 1



                                            IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MARYLAND
Abrego Garcia, et al.                                                           *

                                                                                *
      v.                                                                                             Case No. 25-cv-00951
                                                                                *
Noem, et al.
                                                                                *

                                                                 NOTICE OF APPEAL
                                                               Kristi Noem, Todd Lyons, Kenneth Genalo, Nikita Baker, Pamela Bondi, and Marco Rubio
             Notice is hereby given that                                                                                                                 ,
                                                                                       (fill in names of all parties who are appealing)


Defendants                                                                   in the above captioned case, hereby appeals to the
                       (indicate plaintiff/s or defendant/s)



United States Court of Appeals for the Fourth Circuit the order
                                                                                                                     (indicate order or judgment)


entered in this case on Apr. 4, 2025                                                  .

Apr. 4, 2025                                                                           s/Erez Reuveni
Date                                                                                  Signature
                                                                                       Erez Reuveni, #
                                                                                      Printed Name and Bar Number

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NoticeofAppeal (06/2016)
